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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                               Chapter 11

FTX TRADING LTD., et al., 1                          Case No. 22-11068 (JTD)

         Debtors.                                    (Jointly Administered)



                     ORDER SCHEDULING OMNIBUS HEARING DATES

         Pursuant to Del. Bankr. L.R. 2002-1(a), the Court has scheduled the following omnibus

hearing dates in the above-captioned proceedings:

                    December 13, 2023 at 1:00 p.m. (ET) (Interim Fee Hearing)

                               January 17, 2024 at 1:00 p.m. (ET)

                               February 22, 2024 at 1:00 p.m. (ET)




         Dated: November 8th, 2023                      JOHN T. DORSEY
         Wilmington, Delaware                           UNITED STATES BANKRUPTCY JUDGE
